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                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


IN RE:                                     CASE NO 17-40327-KKS
WILSON, DON THORNTON,                      Chapter: 7

         DEBTOR(S).
_____________________________/

      NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE

TO: Debtor(s), Creditors, and Parties in Interest

                    NOTICE OF OPPORTUNITY TO
                 OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).
       If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, Mary W. Colón, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.
       If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.



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NOTICE IS HEREBY GIVEN that the trustee/debtor-in-possession intends
to sell the following property of the estate of the debtor(s), under the terms
and conditions set forth below.

1. Description of property:
     Equity interest in miscellaneous household goods and furnishings
     ($200); equity interest in TV laptop, tablet ($220); Centennial Bank
     checking account ($136.43).

2. Manner of Sale:      Private ( X )*           Public Auction ( )

3. Terms of Sale: (include purchaser, if known, price, price terms, whether
   or not sale is free and clear of liens, names and addresses of lienors,
   and all other pertinent information)

   Private sale to DON THORNTON WILSON of property identified above
   for a total of $556.43 payable at the rate of $46.37 per month for twelve
   (12) consecutive months with the first payment due on November 15,
   2017. Payment shall be made to Mary W. Colón, Trustee, P. O. Box
   14596, Tallahassee, FL 32317. This sale is “as is”, “where is” with no
   warranties expressed or implied. The sale is subject to any scheduled,
   known or unknown liens, encumbrances, and exemptions; and the
   Purchase(s) is/are responsible for all payments to Lien Holders, Tax
   Assessors, etc.

*The purchase price(s) was/were established by review of the schedules
and any additional documents or testimony provided by parties, negotiated
in good faith, and based on the principles of best business judgment.

*(Applicable to private sales only) The trustee will entertain any higher bids
for the purchase of the assets of the debtor(s) which the trustee proposes
to sell. Such bids must be in excess of $200.00 more than the original bid
and must be in writing and accompanied by a deposit of 20% of the
proposed higher purchase price. Any higher bid must be received (with the
applicable deposit) by the trustee at the address listed below no later than
the close of business 15 days from the date of this Notice.




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      NOTICE IS HEREBY GIVEN that all objections to the same must
state the basis for the objection. If no objection is filed, the sale described
above will take place.


DATED: October 18, 2017                     /S/ Mary W. Colón
                                            MARY W. COLÓN
                                            Chapter 7 Trustee
                                            Smith, Thompson, Shaw, et al
                                            P. O. Box 14596
                                            Tallahassee, FL 32317
                                            Telephone No.: (850) 241-0144
                                            Facsimile: (850) 702-0735
                                            Florida Bar No. 0184012
                                            trustee@marycolon.com

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE
FOREGOING has been furnished by first class U.S. Mail with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com on October 18, 2017.

                                            /S/ Mary W. Colón
                                            MARY W. COLÓN




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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF FLORIDA

IN RE: WILSON, DON THORNTON                                     CASE NO: 17-40327-KKS
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7
                                                                ECF Docket Reference No.
                                                                Judge:
                                                                Hearing Location:
                                                                Hearing Date:
                                                                Hearing Time:
                                                                Response Date:


On 10/18/2017, I did cause a copy of the following documents, described below,
Notice of Intent to Sell Property of the Estate,




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.
DATED: 10/18/2017




                                                                   /s/ Mary W. Colon
                                                                   Mary W. Colon 0184012
                                                                   Mary W. Colon, Trustee
                                                                   P O Box 14596
                                                                   Tallahassee, FL 32317
                                                                   850 893 4105
                                                                   janet@marycolon.com
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                                          UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF FLORIDA

 IN RE: WILSON, DON THORNTON                                              CASE NO: 17-40327-KKS

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 7
                                                                          ECF Docket Reference No.
                                                                          Judge:
                                                                          Hearing Location:
                                                                          Hearing Date:
                                                                          Hearing Time:
                                                                          Response Date:

On 10/18/2017, a copy of the following documents, described below,

Notice of Intent to Sell Property of the Estate,




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 10/18/2017




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             Mary W. Colon, Trustee
                                                                             Mary W. Colon
                                                                             P O Box 14596
                                                                             Tallahassee, FL 32317
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 17-40327-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 17
                                                         FIRST Filed
                                                                CLASS 10/18/17
                                                                       MAIL      Page 6 of 6
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO
1 LABEL MATRIX FOR LOCAL NOTICING        2 CAP1BSTBY                              3 CAPITAL ONE
11294                                    50 NW POINT BLVD                         PO BOX 30285
CASE 17-40327-KKS                        ELK GROVE VILLAGE IL 60007-1032          SALT LAKE CITY UT 84130-0285
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE
WED OCT 18 12-02-57 EDT 2017




4 CHASE CARD                             5 CITI                                   6 DISCOVER FIN SVCS LLC
PO BOX 15298                             PO BOX 6190                              PO BOX 15316
WILMINGTON DE 19850-5298                 SIOUX FALLS SD 57117-6190                WILMINGTON DE 19850-5316




7 DORIS MALOY LEON COUNTY TAX            8 FIRST COMMERCE CU                      9 UNITED STATES TRUSTEE
COLLECTOR                                2330 MAHAN DR                            110 E PARK AVENUE
POST OFFICE BOX 1835                     TALLAHASSEE FL 32308-6129                SUITE 128
TALLAHASSEE FL 32302-1835                                                         TALLAHASSEE FL 32301-7728




DEBTOR
10 DON THORNTON WILSON                   11 LEIGHANNE BOONE                       12 MARY W COLON
2131 DANSHIRE DR                         THE BOONE LAW FIRM PA                    PO BOX 14596
TALLAHASSEE FL 32308                     207 WEST PARK AVE                        TALLAHASSEE FL 32317-4596
                                         SUITE A
                                         TALLAHASSEE FL 32301-7715
